Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 1 of 26 PageID #: 9740




                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------------------------------------------------------------
CRYSTALLEX INTERNATIONAL                                     :
CORPORATION,                                                 :
                                                             :
                  Plaintiff,                                 :
                                                             :
         v.                                                  :        Misc. No. 17-151-LPS
                                                             :
BOLIVARIAN REPUBLIC OF                                       :        PUBLIC VERSION
VENEZUELA,                                                   :
                                                             :
                  Defendant.                                 :
                                                             :
                                                             :
                                                             :
---------------------------------------------------------------------------------------------------------------------

                          RESPONSE OF SPECIAL MASTER TO
                  OBJECTIONS TO PROPOSED SALE PROCEDURES ORDER



OF COUNSEL:

Ray C. Schrock, P.C. (Admitted pro hac vice)              Myron T. Steele (#000002)
Alexander W. Welch (Admitted pro hac vice)                Matthew F. Davis (#4696)
Jason L. Hufendick (Admitted pro hac vice)                Alan R. Silverstein (#5066)
WEIL, GOTSHAL & MANGES LLP                                Abraham Schneider (#6696)
767 Fifth Avenue                                          POTTER ANDERSON & CORROON LLP
New York, New York 10153                                  Hercules Plaza, 6th Floor
Telephone: (212) 310-8000                                 1313 North Market Street
Facsimile: (212) 310-8007                                 P.O. Box 951
Ray.Schrock@weil.com                                      Wilmington, DE 19801
Alexander.Welch@weil.com                                  Telephone: (302) 984-6000
Jason.Hufendick@weil.com                                  Facsimile: (302) 658-1192
                                                          msteele@potteranderson.com
                                                          mdavis@potteranderson.com
                                                          asilverstein@potteranderson.com
                                                          aschneider@potteranderson.com

                                                          Counsel for Special Master Robert B. Pincus

Dated: September 10, 2021
Public Version Dated: September 21, 2021



WEIL:\98131099\9\67816.0003
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 2 of 26 PageID #: 9741




                                                TABLE OF CONTENTS

I.     Preliminary Statement ..........................................................................................................1
II.       ....................................................................................3
       A.         Timing for Launch of the Marketing Process ..........................................................3
       B.         Settlement Discussions and Proposed Negotiated Outcome ...................................6
       C.         Structure of Sale Process Considerations ................................................................7
                  1.         Good Faith Deposit ......................................................................................7
                  2.         Stalking Horse Bid Protections ....................................................................8
                  3.                 
                             Team ............................................................................................................9
                  4.         Sharing of Information with Potential Bidders ..........................................11
                  5.              ernative Process
                             Arguments ..................................................................................................13
                  6.         Right to Seek Additional Guidance from the Court...................................17
                  7.         Provisions Regarding Attached Judgments ...............................................18
       D.         Reimbursement of Reasonable Expenses and Proposed Budget ...........................18
       E.         Proposed Retention of Evercore as Investment Banker .........................................19
III.   Conclusion .........................................................................................................................23

                                                           EXHIBITS

EXHIBIT A-1 Revised Sale Procedures Order

EXHIBIT A-2 Revised Sale Procedures Order Redline

EXHIBIT B Investment Banker Fees in Comparable Transactions




                                                                    i
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 3 of 26 PageID #: 9742




       I, Robert B. Pincus, solely in my capacity as special master (the Special Master  

United States District Court for the Dis    Court in Crystallex International

Corp. v. Bolivarian Republic of Venezuela (D. Del. Case. No. 17-151-  Crystallex

Case   this response ( Reply1 to the Court in response to the objections to the

           

Report and Recommendation Regarding Proposed Sale Procedures Order, (C) Affirming

Retention of Evercore as Investment Banker by Special Master and (D) Regarding Related Matters

[D.I. 302] (the Proposed Sale Procedures Order filed by Crystallex [D.I. 317]

(the Crystallex Objection the Venezuela Parties [D.I. 318] (the Venezuela Parties

Objection and ConocoPhillips [D.I. 319]  ConocoPhillips Objection  

 Objections:2

                                  I.      Preliminary Statement

       1.      Since my appointment as Special Master, my Advisors and I have endeavored to

develop a sale process for the PDVH Shares with two guiding objectives (i) to design a process

that will result in a sale transaction that is fair, open, and maximizes the value of the PDVH Shares

to be sold, and (ii) to ensure the diverse, and frequently conflicting, views of the Sale Process

Parties are solicited and considered in the development and implementation of such a process.

I believe that striving to achieve these two objectives will ultimately result in the most appropriate

process for the sale of the PDVH Shares  one that is fair, value-maximizing, and can be



1
   This Reply has been filed under seal pursuant to paragraph 3 of the Special Master
Confidentiality Order [D.I. 291].
2
  Capitalized terms used but not defined shall have the meaning ascribed to such terms below or,
if not defined below, the meaning ascribed to such terms in the Proposed Sale Procedures Order
or the          
filed       Report.
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 4 of 26 PageID #: 9743




implemented in     orders regarding such a sale. This was the basis upon

which I designed and ultimately recommended the Proposed Sale Procedures Order to the Court.

       2.      Although my team and I have tried to have a collaborative and open dialogue with

the Sale Process Parties, it is very clear that each of the Sale Process Parties has very different

objectives and, accordingly, that affects our ability to reach consensus on a number of important

issues. However, respectfully, each of the Objections to the Proposed Sale Procedures Order must

be interpreted through the lens of the clear objectives and interests of its proponents, they are not

unexpected when considered in context       :

              Crystallex seeks a sale as soon as possible  hence the proposed single step auction.
              The Venezuela Parties prefer no sale at all  and the record in these proceedings
               speaks for itself in this regard.
              ConocoPhillips, a junior creditor to Crystallex, wants a sale only after the Court has
               ordered and OFAC has consented to the attachment of their own judgment and has
               expressed a desire to tie everything to receipt of approval from OFAC. Further, as
               a junior creditor, given the current economic environment for the shares of an oil
               and gas refinery business (and the financial implications thereof), ConocoPhillips
               also prefers delays until the value of PDVH has recovered to pre-pandemic levels.
       3.      Given these irreconcilable points of view and each Sale Process Parties

motivations, it is not surprising that each party raised objections to the Proposed Sale Procedures

Order and they now seek a determination from the Court. This is not to say that any Objection is

per se unwarranted, that is for the Court to decide  but it is fair and appropriate for the Court to

understand that in this process the Special Master has seen the particular views and objectives of

the Sale Process Parties during his interactions and consultations with each of the parties, and these

views underlie their Objections.

       4.      To maintain the transparency of this process for the benefit of the Court and the

Sale Process Parties, I am filing this Reply to supplement my recommendations set forth in the

Proposed Sale Procedures Order and my Report, particularly with respect to issues where no Sale



                                                  2
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 5 of 26 PageID #: 9744




Process Party may be adequately incentivized to provide a fair or reasoned proposal to the Court. 3

Further, having reviewed the Objections in detail, I have also prepared a revised form of the Sale

Procedures Order, which is attached as Exhibit A-1 hereto, to reflect certain of the modifications

to the Sale Procedures Order proposed in the Objections (the Revised Proposed Sale Procedures

Order.4 A redline showing the changes is attached hereto as Exhibit A-2.

                          II.       

A.     Timing for Launch of the Marketing Process

       5.      I believe that the Sale Process Parties will agree that the most crucial and most

polarizing issue for the Court to decide at this stage is when the Marketing Process should be

launched in relation to obtaining approval or guidance from the United States Government

(the USG            

         OFAC   

be benefits to the Court establishing a firm Launch Date (as it may increase the likelihood of OFAC

taking action),5 I continue to recommend that the Court adopt a more nuanced proposal: the

Marketing Process should be launched when I am satisfied with the authorization, FAQs, or other

applicable guidance issued by OFAC regarding the launch and viability of the Marketing Process

or such other time as ordered by the Court. See       3. Given

 l for this process, it is understandable that they would want a date certain for


3
  To preserve costs, I have not submitted any additional evidence, but should the Court require
evidence to decide any of these issues, I will make myself and my Advisors available at the request
of the Court.
4
  The Revised Proposed Sale Procedures Order assumes that ConocoPhillips will elect to continue
to participate in the Special Master process. Should they elect to withdraw, additional revisions
may be necessary.
5
 There are also notable drawbacks, including that Potential Bidders may not participate in such
process.



                                                3
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 6 of 26 PageID #: 9745




launch upon entry of the Proposed Sale Procedures Order, but the Proposed Sale Procedures Order

has always provided (and it should provide) that the Court can direct me to launch (or delay launch)

at an alternative time. In the first instance, it is my recommendation that we continue the dialogue

with OFAC as set forth in the Proposed Sale Procedures Order and my Report, including, if

appropriate, this Court issuing an order to show cause if progress is not timely made following

entry of the Proposed Sale Procedures Order.

        6.      As things stand today (and as I said repeatedly in the Report), I would not

recommend nor would I intend to launch the Marketing Process until I am satisfied with the posture

of OFAC because of the likelihood that Potential Bidders would be unwilling to participate in the

process.6 See    3-             

particular arguments regarding what the OFAC FAQs or regulations ultimately permit at this time.

       as things stand today, there is enough uncertainty

that Potential Bidders will likely discount their bids in light of such uncertainty or not even

participate in the process at all. Of course, a number of scenarios could develop after entry of the

Proposed Sale Procedures Order that could change this perception  for example, such as a change

to the U.S. sanctions on Venezuela, affirmative guidance from OFAC and updated FAQs, a general

or specific license from OFAC, or subsequent pleadings filed by the USG in this case  but sitting

here today, it is not possible to predict every permutation of feedback or input that we may receive

from OFAC and for this reason I believe the proposed discretion is warranted. I further believe

that the flexibility will allow us to tailor the course of action to the situation as it develops and will

serve to prompt the USG to act rather than remain silent.


6
  See also              
                
shares of a Government of Venezuela entity (such as the PDVH Shares).


                                                    4
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 7 of 26 PageID #: 9746




       7.      I would            he Trump

administrations    statement [D.I. 220] that the Venezuela Parties recite in many

of the pleadings they file in this and other courts. The USG (including OFAC) is very aware of

             

D.I. 314) and in a series of meetings,    asked thoughtful questions and

have shown other signs of engagement as detailed more fully in my Report. Presumably, the USG

knows how to protect the interests of the Executive Branch and, in accordance with their

subsequent public statements made at the September 17, 2020 hearing     

   they have at no point in any of my interactions with them, as an arm of this

Court, asked me to or suggested that I should delay the process.

       8.      Nor do I believe that it would be impermissible or inappropriate for the Court to

prompt the USG to act through entry of the Proposed Sale Procedures Order or a subsequent order

to show cause as the Venezuela Parties argue. See      21 (arguing

        ment on behalf of particular parties or for

        I have not proposed

to, nor have I ever, lobbied on behalf of any particular party in this case, despite assertions to the

contrary in    Objection. See id. Moreover, federal courts frequently prompt

the USG to clarify its position on issues relevant to matters before the Court and have done so in

connection with       .7



7
  See e.g., Petroleos De Venezuela S.A. v. MUFG Union Bank, N.A., Case No. 19-10023 (KPF)
                
       t of New York that the Court invites the views
of the United States Government as to the following question: Is recognition of the Venezuelan
           
the law and policy of           
the attention of Jeffrey Oestericher, Chief of the Civil Division. The Court further ORDERS the


                                                  5
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 8 of 26 PageID #: 9747




       9.      In sum, it is my view that the proposed discretion afforded to the Special Master in

the Proposed Sale Procedures Order with respect to the Launch Date appropriately balances the

conflicting views of Crystallex, on one hand, and the Venezuela Parties and ConocoPhillips, on

the other. Flexibility in the procedures will allow the Court to ensure the Marketing Process is

initiated in a manner that will enable all parties, including Potential Bidders, to have confidence in

the viability of the process without facing unnecessary or undue delays.                 Accordingly,

  request to establish an affirmative launch of the Marketing Process,

I have not adopted that request, but defer to the Court if it is of the view a specific Launch Date

would be appropriate at this time.

B.     Settlement Discussions and Proposed Negotiated Outcome

       10.     In the Objections, each of the Venezuela Parties, Crystallex, and ConocoPhillips

expressed a desire for settlement discussions to occur, with certain modifications to the proposal

I included in my Report. My purpose for proposing the framework for the Sale Process Parties

and the PDVSA 2020 Bondholders to engage in settlement discussions was simply to propose




            e Government provide
                 
                 
    ges the Court and its judicial officers with the obligation to
actually conduct the sale of the blocked property itself (acting in the role typically fulfilled by the
          
Department of Justice and the U.S. Marshals is indeed the norm in connection with sales
undertaken by the United States Marshals Service. See e.g.    Justice
Manual        at    9-115.110        (Management       and      Disposal      of    Seized      Assets,
https://www.justice.gov/jm/jm-9-115000-use-and-disposition-seized-and-forfeited-property)
            nsible for an
administrative forfeiture case should consult with the United States Marshals Service in cases
involving Department of Justice seizing agencies, or Treasury in cases involving Treasury seizing
agencies, to discuss management or disposition issues. Such discussions shall address the impact
that such proposed action may have on the United States Marshals Service or other custodial
         


                                                  6
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 9 of 26 PageID #: 9748




what I believe to be in the best interest of the interested parties. The parties are, of course, free to

accept or reject my offer. See Fed. R. Civ. P. 53(1)(A)     

to by the parti              interest for

the Sale Process Parties and the PDVSA 2020 Bondholders to settle on a negotiated resolution of

certain, or all, relevant claims held by Crystallex, ConocoPhillips, and/or the PDVSA 2020

Bondholders. At a minimum, the parties should agree on a claims waterfall. I offered my

assistance primarily because I believe that my involvement would bring structure to the process.

I continue to encourage the Sale Process Parties to engage with each other and, if my involvement

is desired, to send a proposal regarding the terms upon which they would participate in such

discussions either to me or to the other Sale Process Parties (or both).

        11.     Of course, we need not wait until the Proposed Sale Procedures Order is entered to

do so. Now that the hearing to consider approval of the Proposed Sale Procedures Order has been

scheduled for November 8, 2021  two months from now  I encourage the Sale Process Parties

to use this opportunity to narrow the issues. There is sufficient time to make real progress.

C.      Structure of Sale Process Considerations

        1.      Good Faith Deposit

        12.                 idders

     substantial good faith deposit. See      12.

ConocoPhillips raises similar concerns regarding the proposed size of the proposed good faith

deposit. Although I attempted to incorporate          od

faith deposit mechanism that I received to the draft of the Proposed Sale Procedures Order, I

welcome the further revisions proposed by the Venezuela Parties and ConocoPhillips in their

objections to reduce the amount of the good faith deposit or to establish a cap on the maximum

amount of any good faith deposit. Upon review of the Objections, I have revised the Proposed


                                                   7
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 10 of 26 PageID #: 9749




 Sale Procedures Order to recommend that a good faith deposit shall in no circumstance exceed

 $50 million. Of course, the Bidding Procedures should continue to provide that the amount of the

 good faith deposit can be decreased in consultation with the Sale Process Parties to encourage a

 Potential Bidder to participate if it appears that this requirement ultimately chills bidding in

 practice. See              

              

          2.      Stalking Horse Bid Protections

          13.     The Venezuela Parties and ConocoPhillips, for different reasons, take issue with

 the provision of the Stalking Horse Bid Protections contemplated in the Sale Procedures Order and

 the Bidding Procedures.8 However, both parties assume in their Objections that such relief is

 requested in the Sale Procedures Order with respect to the Stalking Horse Bid Protections. Instead,

 such relief is contemplated to be granted only by further Court order if requested by me.

          14.                  

 authority to grant any of the Stalking Horse Bid Protections described therein is subject to approval

 of the Court                

 Horse Bid Protections and subsequent execution by the Special Master of the Stalking Horse

 9 Accordingly, I do not believe that the Court needs to rule on the Objections related

 to the Stalking Horse Bid Protections until, and only if, such Stalking Horse Bid Protections are

 submitted and recommended to the Court. If, following receipt of any Stalking Horse Bids and

 any subsequent negotiation, I determine that it is appropriate to grant a potential Stalking Horse

 Bidder certain protections, then I will seek the requisite authority from this Court to do so. In such



 8
     See Venezuela Parties Objection at 10-11; see also ConocoPhillips Objection at 14.
 9
     See Sale Procedures Order at  19.


                                                   8
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 11 of 26 PageID #: 9750




 event, the Sale Process Parties will have the opportunity to raise objections to the proposed

 Stalking Horse Bid Protections and to be heard by the Court with respect thereto. No such

 authority has been requested in the Proposed Sale Procedures Order at this time (other than keeping

 open the option for the Special Master to designate and seek approval of such a Stalking Horse

 Agreement in the future with all parties rights reserved until such time) and I therefore believe the

 Objections raised to the Stalking Horse Bid Protections are not yet (and may never be) applicable.

        15.     I would be remiss, however, if I did not note that I do understand each of the Sale

 Process Parties concerns regarding the potential Stalking Horse Bid Protections (particularly their

 Objections to granting Stalking Horse Bid Protections to a credit bidder) and I will certainly take

 them into account before submitting any such proposal to the Court, and all such rights to object

 are intended to be reserved. At this stage, it is impossible to predict the bids that may be received

 and/or to guess at the context in which the Stalking Horse Bid Protections should be considered

 and, accordingly, I do not believe it is appropriate to foreclose seeking Stalking Horse Bid

 Protections for a bid at this time. Each parties rights are fully preserved. See Proposed Sale

                  

 a Stalking Horse Agreement, the proposed Stalking Horse Bid Protections provided for under that

          

        3.               

        16.     I agreed and continue to agree with much of what the Venezuela Parties have said

 regarding the ways in which their participation in the process could enhance the likelihood of the

 process resulting in a value-maximizing bid. However, the Court has ordered the development of

 this process for a judgment debtor that has not yet shown its willingness to proceed with the sale

 of the PDVH Shares. That cannot be ignored. From my perspective, I believe the scope of the

 disagreement is actually very narrow: who should control and direct the communications with


                                                  9
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 12 of 26 PageID #: 9751




 Potential Bidders? The question is not whether the Venezuela Parties, and particularly CITGO

 management, should be involved. We all agree that the CITGO management team is most familiar

 with the assets represented by the PDVH Shares and that their good faith involvement will be value

 enhancing. See Repor          

 and future projections will require substantial work and time on both the part of myself and my

      

        17.     Given the importance of maintaining clear and consistent messaging to Potential

 Bidders (and because the Venezuela Parties themselves have expressed an interest in maintaining

 the option to submit a bid after they have received copies of other bids), it is critically important

 that I, as an arm of the Court, control the forum and timing of any communications between the

 CITGO management team and Potential Bidders so that I can oversee the competitive bidding

 process. It is for this reason that I proposed the limited restriction that the Sale Process Parties

 should seek my consent before sending any communications to a Potential Bidder. See Proposed

 Sale Procedures Order at 40-41; see           

 Parties may recommend to the Special Master documents or additional information to be included

     This, of course, does not prohibit the Venezuela Parties from reviewing and

 providing input on any marketing materials, which I have proposed. See Proposed Sale Procedures

                    

 Sale Process Parties no later than seven (7) calendar days prior to launch of the Marketing Process

              ). In addition to

 maintaining the competitive environment, the prohibition will signal to Potential Bidders that the

 process is fair and that the Sale Process Parties  each of which has not ruled out that it will be a

 Potential Bidder  will not be attempting to use their engagement in the case to pursue ulterior




                                                  10
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 13 of 26 PageID #: 9752




 motives. See      21 (stating that the Venezuela Parties oppose any

 sale).

          18.         remove the prohibition on

 communications that ar          

 I continue to believe it is very important for this Court to maintain the integrity of the sale process

 and to take appropriate precautions to ensure that parties (including potential bidders) do not

 collude in connection with submitting any bid (or in discouraging any party from submitting a

 bid). See 11 U.S.C. 363(n) (codifying a similar requirement in the Bankruptcy Code). The

 Proposed Sale Procedures Order does not purport to limit the types of discussions that

 ConocoPhillips seeks to undertake regarding any objections to the implementation of the Proposed

 Sale Procedures Order. See Proposed Sale Procedures Order        

 this provision is not intended to limit in any way the ability of some or all of the Sale Process

 Parties to discuss . . . the terms, content, or grounds of any potential objection to be filed with the

  theless, because I believe that a party will not knowingly interfere with or obstruct

 an order of the Court regardless of whether an order expressly prohibits it, and because of my

 ability to seek guidance from the Court if a Sale Process Party acts inappropriately during the

 process, I have proposed to remove the explicit prohibition from the Revised Proposed Sale

 Procedures Order that I have filed with this Reply to avoid an unnecessary determination from the

 Court at this time. I trust that each party will act appropriately and, if necessary, I will seek

 guidance or input from the Court at a later time.

          4.    Sharing of Information with Potential Bidders

          19.   Relatedly and equally as important as controlling communications with Potential

 Bidders, I believe it would inhibit the process if the Venezuela Parties were able to control

           


                                                   11
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 14 of 26 PageID #: 9753




  See Venezuela Parties Objection at 22 (arguing that the Special Master should only

 b            As the Venezuela Parties

 have marked the vast majority of the most important information that will need to be shared with

        uest would effectively provide the

 Venezuela Parties with control over the process.

        20.     The protections in the Proposed Sale Procedures Order afforded to the Venezuela

 Parties with respect to confidential information are more than sufficient to protect their interests.

 The Proposed Sale Procedures Order provides that, before I disclose any confidential information

 to a Potential Bidder, I must first give notice to the applicable Sale Process Party and then, only

 after notice has been provided, it can be shared only if the Potential Bidder has entered into a

 market standard confidentiality agreement, a copy of which is attached as Exhibit 4 to the Proposed

 Sale Procedures Order (the Confidentiality Agreement10 Further, all potential bidders that

             Sale Procedures

 Order   38) and each party must contractually agree that the Court will be able to enforce any

 breaches of the Confidentiality Agreement. See    10. Finally, the

 Proposed Sale Procedures Order provides that I will consult with PDVH and CITGO in connection

 with sharing competitively sensitive information and, if appropriate, will establish firewall

      See      44. In light of these

 protections, I do not believe that the information sharing provisions with Potential Bidders are

 insufficient to protect    interests. In any event, by requiring me to provide

 them with notice before I share any confidential or highly confidential information, the Venezuela


 10
   To further increase transparency, in the Revised Proposed Sale Procedure Order I have added a
 mechanism for any executed Confidentiality Agreement to be filed with the Court under seal and
 shared with the Sale Process Parties.


                                                  12
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 15 of 26 PageID #: 9754




 Parties                 

 of implementing the Proposed Sale Procedures Order.

        21.     With respect to ConocoPhillips objection to the information sharing provision, I do

 not have any objection to modifying the Proposed Sale Procedures Order to require their

 reasonable consent before sharing any informat      

 pursuant to the Protective Order. As of the date hereof, ConocoPhillips has not marked any

          that will be of primary

 interest to Potential Bidders, I do not anticipate there being much information, if any, that Potential

 Bidders will need from ConocoPhillips.          Accordingly, I have modified the Proposed Sale

          share any information

 that ConocoPhillips has   

        5.             

        22.     The Venezuela Parties raise a number of issues that they believe result in the

 process being intentionally structured to sell 100% of the PDVH Shares at a discount, including

 because of the potential Stalking Horse Bid Protections, the Good Faith deposit, and the proposed

 limitations on the ability of the CITGO management team to communicate unsupervised with

 Potential Bidders. I have addressed most of these issues above and, like the remaining arguments,

 I believe they all fall away upon an examination of the process that I have recommended and,

 respectfully, the likely motivations of the Venezuela Parties in making such arguments. See e.g.,

     5 (asking Potential Bidders to identify any minority shareholder rights,

 protections, or other desired terms in connection with any bid for less than 100% of the PDVH

 Shares); id.   6 (permitting Special Master to designate as a stalking horse bid a bid for less than

 100% of the PDVH Shares); Id.   8 (permitting bids for less than 100% of the PDVH Shares);

 id.   9 (requiring bidders to specify any minority shareholder rights in connection with their


                                                   13
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 16 of 26 PageID #: 9755




 bid); id.   14-15 (requiring the Special Master to select the highest bid that pays off the most of

 the Attached Judgments for the fewest PDVH Shares). Ultimately, these procedures are solely to

 provide clarity regarding the procedure for the Special Master to select which bid should be

                Hearing

 (or any hearing in connection with designation of a Stalking Horse Bidder), if they believe I did

 not accept a bid for fewer PDVH Shares that could have satisfied the same amount of the Attached

 Judgments, are fully preserved.

        23.     However, I have no issue with the   proposal that, when selecting

 between two competing bids that, ceteris paribus, have sufficient proceeds to satisfy all Attached

 Judgments, I may select a value-maximizing Bid that provides for the sale of more PDVH Shares

 solely with the consent of PDVSA. See      and 11. Otherwise and

            even if it is not value

 maximizing  to be accepted because it has sufficient proceeds to satisfy all Attached Judgments

 for the sale of fewer PDVH Shares. I have proposed revisions to clarify this point. See Revised

 Sale Procedures Order, Ex. 1 at 17.

        24.        other line of argument that I did not consider other value

 maximizing alternatives is simply incorrect. With the assistance of my Advisors, I considered a

 number of alternatives, none of which appear feasible based on the diligence provided to me to

 date by the Venezuela Parties and the Illustrative Clearing Price set forth in my Report. 11 Because



 11
   See Report at  69-70. The criticism of the Illustrative Clearing Price contained in Declaration
                 
 Objection (the Weisenburger Declaration        
 pledge in favor of the PDVSA 2020 Bondholders. See Weisenburger Declaration at  14 (alleging
              
              
 before the PDVSA 2020 Bondholders are satisfied in full. Any Attached Judgment after


                                                  14
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 17 of 26 PageID #: 9756




 I did not ultimately recommend a traditional initial public offering or an IPO via a SPAC (both of

 which would likely require a sale of such equity at a customary discount) does not mean that I did

 not consider such proposals. In several of my conversations with counsel to the Venezuela Parties,

 they suggested that the process be delayed for months so that they could consider alternative

 structures. Respectfully, these are alternative transactions that the Venezuela Parties should have

 considered before having a lien attached to the PDVH Shares or recognition of the Crystallex

 Judgment. They are free to pay off the Crystallex Judgment (and any other judgments that become

 Attached Judgments) at any time. And yet, when I asked for additional details on such proposals,

 they declined to provide specifics or otherwise engage in further discussions regarding these

 proposals. The Venezuela Parties provided no specifics on the alternatives they wished that I

 would consider in lieu of a sale of PDVH Shares. 12 I ultimately recommended the Proposed Sale

 Procedures Order because I believe it to be the most feasible available alternative, it provides for

 the best opportunity of a value maximizing result, and other alternatives that I did not recommend

 were unlikely to generate proceeds necessary to pay off the Crystallex Judgment (and most

 certainly any additional Attached Judgments).

        25.     It bears repeating: nothing in the Proposed Sale Procedures Order today prohibits

 the Venezuela Parties from evaluating and proposing such alternative structures to Crystallex (or

 any other holder of an Attached Judgment). Based on each of the parties statements to welcoming


            
 value until the PDVSA 2020 Bondholders are paid in full.
 12
   The limited specifics now provided in their objection are substantially more detailed than were
 provided in our private discussions. See Weisenburger Declaration at  12 (suggesting that the
             
              
 Crystallex were to consent, none of these appear to be able to plausibly comply with Section 324
 of the Delaware General Corporation Law nor do the Venezuela Parties even attempt to explain
 how they could comply.


                                                 15
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 18 of 26 PageID #: 9757




 a Negotiated Outcome, I suspect that Crystallex would welcome a tangible and feasible proposal

 from the Venezuela Parties that would result in payment of their Attached Judgment. I continue

 to believe it would be helpful if the Venezuela Parties would provide more specifics around their

 proposal and the potent      in the Weisenburger Declaration.

        26.             further arguments that my recommendation is

            that the Proposed Sale

 Procedures Order           ed herrings.

 Although it may be customary for a board of directors to ask its advisors to prepare an informal

 valuation  customarily referred to as      ith evaluating the

 decision to launch a sale process, that decision was already made in the Crystallex Case well before

 I was appointed as Special Master. See January 2021 Opinion (directing the sale of the PDVH

 Shares).     In the forced-sale context, I do not believe that commissioning a formal valuation 

 which will result in additional cost, timing, and expense  would bring any real value to the

 process. Indeed, in the most applicable context to the Court-supervised sale at hand  Section 363

 of the Bankruptcy Code, the Third Circuit has rejected arguments that it would be appropriate for

 courts to value assets prior to a marketing process. See In re SubMicron Sys. Corp., 432 F.3d 448,

     Section 363 attempts to avoid the complexities and inefficiencies of valuing

 collateral altogether by substituting the theoretically preferable mechanism of a free market sale

               tion to a sale best

               

               

 for the    Like Section 363 of the Bankruptcy Code, Section 324 of the

 Delaware General Corporation Law does not require a valuation to occur prior to conducting any




                                                 16
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 19 of 26 PageID #: 9758




 sale process. Consistent with long-standing precedent, I believe that the marketing process and

 ultimate auction to the highest bidder will be the best way to determine the true value of the PDVH

 Shares. See DFC Glob. Corp. v. Muirfield Value Partners, L.P., 172 A.3d 346, 36869 (Del.

              the market. That is true of

 corporations, just as it is true of gold. Thus, an economist would find that the fair market value of

 a company is what it would sell for when there is a willing buyer and willing seller without any

    In re Energy Coop., Inc.         

 simply no substitute in measuring value than to analyze what informed buyers are willing to accept,

 informed sellers are willing to pay, and with neither group under a compulsion to act . . . [A]ll

 sophisticated valuation methods must yield to the r    In re Granite

 Broad. Corp., 369 B.R. 120, 140, 143 (S.D.N.Y. 2007)        

           ction . . . [p]eople who must back their beliefs

 with their purses are more likely to assess the value of the [asset] accurately than are people who

       In the context of a court-ordered sale, moreover, such an

 outcome appears fair to all concerned.

        6.      Right to Seek Additional Guidance from the Court

        27.     Crystallex argues that regardless of how the Marketing Process goes, I should be

 obligated to select and recommend to the Court a Sale Transaction. As I explained in the Report

    it may be necessary for the Court to address unforeseen contingencies or impediments that

 may arise during my implementation of the Proposed Sale Procedures Order. Accordingly, the

 Proposed Sale Procedures Order and corresponding Bidding Procedures contain a customary

 reservation that I am not necessarily obligated to recommend a Sale Transaction to the Court. If

 all goes as planned, I, of course, have every intention of selecting a Successful Bid in accordance

 with the proposed Bidding Procedures. I do not believe, however, that it is in the best interest of


                                                   17
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 20 of 26 PageID #: 9759




 the Sale Process Parties for me to be compelled to recommend a Sale Transaction under all

 circumstances, including if such a Sale Transaction would not comply with applicable law. See

 Burge v. Fidelity Bond & Mortg. Co., 648 A.2d 414, 419 (Del. 1994) (   

 their discretion, set aside a sale where inadequacy of price will result in unfairness or work an

 injustice on any party having an interest in the outcome of the sale. Fraud, mistake, accident,

 impropriety, misconduct, surprise or irregularity in the sale process will support judicial

    ).

        7.      Provisions Regarding Attached Judgments

        28.     The Venezuela Parties seek clarifying language that an Attached Judgment must be

 a valid attachment for PDVH Shares to be sold to satisfy such judgment. This was always the

 intention and I have no objection to adding additional language to the Proposed Sale Procedures

 Order clarifying this point. I have proposed revised language in the Revised Proposed Sale

 Procedures Order   29.

 D.     Reimbursement of Reasonable Expenses and Proposed Budget

        29.          Memorandum Order dated September 8, 2021 [D.I. 337]

 and the procedures to be adopted pursuant thereto resolve the objections to the proposed language

 contained in the initial Proposed Sale Procedures Order regarding the reimbursement of my fees

 and expenses and the provision of a budget. Accordingly, I have revised the Proposed Sale

 Procedures Order to incorporate the provisions to be established in the coming weeks pursuant

 thereto. See Revised Proposed Sale Procedures Order   23.

 E.     Judicial Immunity

        30.     The Venezuela Parties further object to the provisions in the Proposed Sale

 Procedures Order regarding judicial immunity and the procedures for any violation of  

 order. These provisions go to the core of my ability to retain qualified professionals. As a special


                                                 18
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 21 of 26 PageID #: 9760




 master, I am unable to offer such professionals customary indemnification or other contractual

 arrangements that they would be accustomed to in the private context and would be required by

 each institution in a traditional engagement. However, I have been able to retain them on the basis

 that they would be entitled to judicial immunity in acting as my advisor. I respectfully submit that

 these provisions are appropriate, consistent with applicable law, and do not unfairly impair the

 interests of any Sale Process Party.

 F.     Proposed Retention of Evercore as Investment Banker

        31.     Each of the Objections challenge the retention of Evercore at this time and/or on

            Proposed Evercore Engagement

 Letter (which is attached as Exhibit 3 to the Sale Procedures Order).

        32.     As further addressed in my Report, Evercore will play a vital role in the

 implementation and success of the Marketing Process. 13 My proposed retention of Evercore as

 investment banker was the result of a competitive solicitation process from several market-leading

 investment banking advisory firms and, after a round of interviews and several follow-up

 discussions, I selected Evercore based on their extensive experience and excellent reputation in

 providing high quality investment banking services. Id. I believed at the time, and continue to

            

 mandate associated with implementation of the Proposed Sale Procedures Order. Thereafter,

     ely negotiated (and repeatedly renegotiated) in

 consultation with each of the Sale Process Parties (all as explained in great detail in the Report). 14


 13
   See Report at  11-         
 and the necessary role Evercore will play in implementing the Sale Procedures Order.
 14
    Notwithstanding that under the May 27 Order I have the authority and do not require the consent
 of any Sale Process Party to retain an investment banker, I have proposed to submit the Proposed
 Evercore Engagement Letter to the Court for confirmation because the consultation process with


                                                   19
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 22 of 26 PageID #: 9761




           33.   No Sale Process Party objects on the basis that I do not need the assistance of an

 investment banker to perform my duties pursuant to the Proposed Sale Procedures Order. Nor

 does any party even attempt to dispute the retention of Evercore based on its qualifications. See

 e.g.             to the choice

               

           

 

           34.   Instead, the Objections lodge a series of attacks that completely miss the mark on

 the standard set by the Court in the May 27 Order [D.I. 277]. The Court has already determined

 in this case that              

 carrying out his duties shall be calculated based on the rates charged by such Counsel or Advisor

       See May 27 Order   17; accord Fed. R. Civ. P. 53(a)(3); (g)

 (permitting the Court to impose fair and reasonable fees and expenses). Remarkably, not a single

 Sale Process Party has even alleged that the Proposed Evercore Engagement Letter contemplates

 fees or expenses that are different than fees that Evercore normally charges its other clients.

           35.                

 are fair, reasonable, and reflective of industry standards and certainly comparable to terms

 Evercore would charge to any other client. Of course, as the Court and each Sale Process Party

 has repeatedly recognized, this engagement is novel and unprecedented and, accordingly, no direct

 comparison is perfect. While novel, the mandate and contemplated work that Evercore will

 perform is in many ways akin to a traditional M&A mandate and in other ways akin to a



 the Sale Process Parties revealed that certain of the Sale Process Parties would seek to litigate the
 compensation structure at the end of the sale process. It would be unfair to ask any investment
 banker run a sale process on such an uncertain basis.


                                                  20
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 23 of 26 PageID #: 9762




 restructuring mandate (such as a Section 363 sale supervised by a bankruptcy court). If analyzed

 from either of these angles, the compensation structure contemplated by the Proposed Evercore

 Engagement Letter is reasonable and in line with standard industry practice. Indeed, in each case,

 it is on the lower end of the spectrum. 15

        36.       Nonetheless, prior to filing my Report, I went to great lengths to obtain the

 concessions from Evercore requested by the Sale Process Parties. I have detailed a number of

 these concessions in my Report already, including (i) protections to ensure that Evercore does not

 receive unnecessary Monthly Fees         - at my discretion

 and that they will not begin until          Sale

 Procedures Order), (ii) reducing the Sale Fee in the event the only bona fide Bid generated by the

 Marketing Process is a credit bid from Crystallex, (iii) substantially reducing the Upfront Amount,

 and (iv) excusing ConocoPhillips from having to pay the Upfront Amount if they are not expected

 to receive proceeds from any Sale Transaction. See   11.

        37.       After reviewing the Objections, I once again sought to renegotiate even further

 concessions. In an effort to reconcile as many of the issues raised in the Objections, Evercore has

 made the below proposal in discussions with Crystallex in an effort to reach an agreement. I am

 optimistic th              

 recent proposal conveyed to Crystallex is as follows:

                 The Sale Fee will be reduced further if the Successful Bid is a credit bid from
                  Crystallex in an amount equal to or less than $500 million (the Credit Bid
                  Threshold. Solely for purposes of calculating whether the Credit Bid Threshold
                  has been satisfied and the Sale Fee        
                  increased by 50% of the outstanding amount of any amount that remains secured

 15
            Exhibit B hereto a chart showing the fees paid
 investment bankers in comparable M&A transactions and also in restructuring transactions. Based
 on this analysis, I am confident the fee structure ultimately agreed upon in the Proposed Evercore
 Engagement Letter is reflective of market standards.


                                                  21
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 24 of 26 PageID #: 9763




                  by a purported pledge of the stock of CITGO Holding in favor of Rosneft Trading,
                  S.A., if any (the Credit Bid Adjustment. If this is the case, then the Sale Fee
                  will be the higher of $7 million or 2% of the credit bid (after taking into account
                  the Credit Bid Adjustment and subject to appropriate crediting of monthly fees,
                  discussed below). The entire Sale Fee in this scenario would be paid at
                  consummation of the Sale Transaction (i.e., no Upfront Amount in this scenario)
                     o In this scenario, 50% of the first twelve Monthly Fees actually paid will be
                       credited against the Sale Fee due at consummation of the Sale Transaction.
                 If the Marketing Process results in Crystallex submitting a credit bid in excess of
                  the Credit Bid Threshold (after taking into account any Credit Bid Adjustment),
                             (as defined in
                  the prior Proposed Evercore Engagement Letter) of the Successful Bid (subject to
                  appropriate crediting of Monthly Fees, discussed below). In this scenario $3.5
                  million of the Sale Fee will be payable as an Upfront Amount. The remaining will
                  be paid at consummation of the Sale Transaction.
                     o Further, with respect to the portion of the Sale Fee payable at consummation
                       of the Sale Transaction, 50% of the first twelve Monthly Fees actually paid
                       and the Upfront Amount actually paid will be credited against the Sale Fee
                       due at consummation of the Sale Transaction.
                 With respect to any other bid that is selected as the Successful Bid, the provisions
                  in the Proposed Evercore Engagement Letter will remain the same, except that the
                  Upfront Amount will be reduced to $3.5 million (not subject to crediting) and 50%
                  of the first twelve Monthly Fees will be credited against the portion of the Sale Fee
                  paid at consummation of the Sale Transaction.
 I believe these additional concessions further underscore the reasonableness of the proposed terms

 upon which I seek to retain Evercore. I will file a revised Proposed Evercore Engagement Letter

         the near term. We are hopeful that the revised

 proposal will garner the support of the other Sale Process Parties.

        38.       To the extent any Objections remain outstanding following these concessions,

 I respectfully ask the Court to overrule such Objections. 16 Should the Court elect to hold a hearing

 on my proposed retention of Evercore, I am prepared to put on an affirmative case in support of



 16
                
              See   -
 30. They have not responded to the clear distinctions between the precedent they cite and my
 proposed retention of Evercore in this case.


                                                   22
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 25 of 26 PageID #: 9764




 their retention. It is worth noting that, if such a hearing were to be held, the question before the

            reasonable and

 consistent with the terms entered into by Evercore and its other clients. It is not the industry

 standard, nor is it fair to professional advisors, to question whether any other advisory firm could

 be retained for a lower amount once those firms failed to win the engagement in the first instance.

 Nor is it appropriate to continually pressure an advisory firm to unreasonably adjust its standard

 compensation mechanics. As     t the lower end of the range of fees paid

 to investment bankers in comparable transactions, I respectfully submit that my proposed retention

 of Evercore is reasonable under the circumstances of the Crystallex Case.

                                         III.    Conclusion

        39.     The Special Master process to date and the history of litigation and complexity of

 disputes in the Crystallex Case and the differing objectives of the Sale Process Parties suggest that

 there are a number of critical issues in the design of the Sale Procedures Order that I do not believe

 the Sale Process Parties will ever come to an agreement on and must ultimately be decided by the

 Court. As detailed in my Report, I have endeavored to build as much consensus as could be done

 under the circumstances. Each of the unresolved Objections should be considered in light of the

              imate sale

 of the PDVH Shares. Notwithstanding these remaining objections, I continue to recommend the

 Proposed Sale Procedures Order, as revised by this Reply, to the Court. I reserve the right to

 clarify or supplement any statements made in this Reply at any time. Of course, should the Court

 require evidence to decide any of these issues, I will make myself and my Advisors available at

   convenience.




                                                  23
Case 1:17-mc-00151-LPS Document 356 Filed 09/21/21 Page 26 of 26 PageID #: 9765




        40.     We welcome the opportunity to discuss open issues with any of the Sale Process

 Parties following submissions of the replies in an effort to narrow the issues prior to the further

 expenditure of judicial resources at the November 8, 2021 hearing.




                                              /s/ Robert B. Pincus
                                              Robert B. Pincus
                                              Special Master for the United States District Court
                                              for the District of Delaware




                                                 24
